Case 2:10-cr-20705-RHC-MKM ECF No. 658, PageID.5961 Filed 01/17/14 Page 1 of 2




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

 UNITED STATES OF AMERICA,                     Case No. 10-CR-20705
                                               (Related to Case No. 12-mc-50618)
                       Plaintiff,              HON. ROBERT H. CLELAND

                 v.

 D-2   ALI ALAOUIE,

                 Defendant.
 __________________________________/

                      AMENDMENT TO PRELIMINARY ORDER
                      OF FORFEITURE REGARDING $33,860.53

       This Court entered a Preliminary Order of Forfeiture on November 28, 2011, in

 this criminal case ordering the forfeiture of $33,860.53 represented by the following

 check:

             Check issued by the County of Wayne Treasurer=s Office from an account
             at Bank 1 One N.A. in Dearborn, MI in the amount of $33,860.53 (Asset
             ID # 10-FBI-006975)

 (ASubject Funds@). (Docket # 328).

       The government has requested that the Preliminary Order of Forfeiture be

 amended to allow for the release of the Subject Funds to AMCO Insurance Company,

 a Nationwide company, (hereinafter referred to as ANationwide Insurance@), who filed

 a petition in the related ancillary proceedings, Case No. 12-mc-50618, alleging an


                                         1
Case 2:10-cr-20705-RHC-MKM ECF No. 658, PageID.5962 Filed 01/17/14 Page 2 of 2




 interest in the Subject Funds and seeking their return.

       Accordingly, this Court now makes the following Order:

       PURSUANT TO FEDERAL RULE OF CRIMINAL PROCEDURE 32.2(c)(2),

 IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT the Preliminary

 Order of Forfeiture entered in the above captioned action on November 28, 2011 is

 amended as follows:

       $      the Subject Funds (i.e., $33,860.53) shall be released to Nationwide

              Insurance.

       Nationwide Insurance’s loss, previously identified as $363,419.06, will be

 reduced by the amount of the Subject Funds once the government releases the Subject

 Funds to Nationwide Insurance.

       The Court shall retain jurisdiction to enter any orders necessary to amend or

 enforce this order.

 IT IS SO ORDERED.

 Dated: January 17, 2014                        s/Robert H. Cleland
                                                HONORABLE ROBERT H. CLELAND
                                                United States District Court Judge




                                          2
